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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In Re                                                     )     Chapter 11
                                                          )
GIORDANO'S ENTERPRISES, INC., et al1                      )     Case No. 11-06098
                                                          )     (Jointly Administered)
                                  Debtors.                )
                                                          )     Hon. Eugene R. Wedoff

                                         NOTICE OF MOTION
TO:       See Attached Service List.


              PLEASE TAKE NOTICE that on Tuesday, August 16, 2011, at 10:00 a.m.,
or as soon thereafter as counsel may be heard, we shall appear before the Honorable Eugene
R. Wedoff or another judge sitting in his stead, at the United States Bankruptcy Court for the
Northern District of Illinois, located at 219 South Dearborn, Courtroom 744, Chicago,
Illinois 60604, and then and there present the MOTION FOR SANCTIONS AND FOR
ORDER OF CONTEMPT AGAINST ZANE SMITH AND PLAINTIFFS IN THE
APOSTOLOU LAWSUIT, a copy of which is hereby served upon the attached service list.

Dated: August 11, 2011                                        Respectfully submitted,

                                                              FIFTH THIRD BANK

                                                              By:   /s/ Randall L. Klein
                                                                     One of Its Attorneys

Randall L. Klein
Ronald Barliant
Zachary J. Garrett
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(312) 201-4000
1
 The Debtors in these cases are: Giordano's Enterprises, Inc., Illinois Management Company, Inc., JBA Equipment
Finance, Inc., Altamonte Partners, LLC, Giordano's Franchise, Inc., Giordano's of Florida, Inc., Giordano's
Restaurants, Inc., Giordano's Famous Stuffed Pizza, Inc., Americana Foods, Inc., Pizza Pizazze, Inc., Giordano's,
LLC, Oakbrook Partners, LLC, Randolph Partners, LLC, Randolph Partners, LLC 20-24 Series, Randolph Partners,
LLC – 327 Series, Randolph Partners, LLC – Lake Street Series, Randolph Partners, LLC – Formosa Series,
Randolph Partners, LLC – Minooka Series, Randolph Partners, LP, Randolph Partners, LLC – 740 Series,
Randolph Partners, LLC – 308 Series, Randolph Partners, LLC — Ogden Oswego Series, Randolph Partners, LLC –
1425 Series, Randolph Partners, LLC – Mount Prospect Series, Belmont Pizza, Inc., Rush Pizza, Inc., Greektown
Pizza, Inc., Rosemont Pizza, Inc., Willowbrook Pizza, Inc., Randolph Partners, LLC – Sherberth Series, Randolph
Partners, LLC – Oakbrook Partners Series, Randolph Partners, LLC – Cotton Lane Series, and Randolph Partners,
LLC – Randall Orchard Series.
3600073                                                                                                  6660.002
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In Re                                                     )    Chapter 11
                                                          )
GIORDANO'S ENTERPRISES, INC., et al2                      )    Case No. 11-06098
                                                          )    (Jointly Administered)
                                  Debtors.                )
                                                          )    Hon. Eugene R. Wedoff

      MOTION FOR SANCTIONS AND FOR ORDER OF CONTEMPT AGAINST
        ZANE SMITH AND PLAINTIFFS IN THE APOSTOLOU LAWSUIT

                 Fifth Third Bank ("Fifth Third"), hereby requests that the Court enter an Order

determining that John Apostolou, Eva Apostolou, Basil Apostolou, George Apostolou and

Joanna Apostolou, individually and as trustees and beneficiaries of the trusts identified in the

Apostolou Complaint (defined below) (collectively, the "Apostolou Plaintiffs") and their

attorney, Zane Smith ("Smith"), are in contempt of court for their conduct in filing a

complaint in the Circuit Court of Cook County, Illinois, No. 11 CH 27344 (the "Apostolou

Complaint") (a copy of which is attached hereto as Exhibit A). The grounds for this motion

are that by filing the Apostolou Complaint, Smith and the Apostolou Plaintiffs violated (1)

the automatic stay against acts to obtain possession of, or exercise control over, property of

the estate, and (2) the order entered in this Case on May 12, 2011 (the "May 12 Order") (a

copy of which is attached hereto as Exhibit B) enjoining certain of the Apostolou Plaintiffs


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 The Debtors in these cases are: Giordano's Enterprises, Inc., Illinois Management Company, Inc., JBA Equipment
Finance, Inc., Altamonte Partners, LLC, Giordano's Franchise, Inc., Giordano's of Florida, Inc., Giordano's
Restaurants, Inc., Giordano's Famous Stuffed Pizza, Inc., Americana Foods, Inc., Pizza Pizazze, Inc., Giordano's,
LLC, Oakbrook Partners, LLC, Randolph Partners, LLC, Randolph Partners, LLC 20-24 Series, Randolph Partners,
LLC – 327 Series, Randolph Partners, LLC – Lake Street Series, Randolph Partners, LLC – Formosa Series,
Randolph Partners, LLC – Minooka Series, Randolph Partners, LP, Randolph Partners, LLC – 740 Series,
Randolph Partners, LLC – 308 Series, Randolph Partners, LLC — Ogden Oswego Series, Randolph Partners, LLC –
1425 Series, Randolph Partners, LLC – Mount Prospect Series, Belmont Pizza, Inc., Rush Pizza, Inc., Greektown
Pizza, Inc., Rosemont Pizza, Inc., Willowbrook Pizza, Inc., Randolph Partners, LLC – Sherberth Series, Randolph
Partners, LLC – Oakbrook Partners Series, Randolph Partners, LLC – Cotton Lane Series, and Randolph Partners,
LLC – Randall Orchard Series.

3600073                                                                                                  6660.002
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and all persons acting in concert with them from interfering with the business of the Debtors.

In support, Fifth Third states:

                                       JURISDICTION

               1.      This Court has jurisdiction of this matter under 28 U.S.C. §§157 and

1334(a) and Internal Operating Procedure 15(a) of the United States District Court for the

Northern District of Illinois.

               2.      Venue is proper in this district under 28 U.S.C. §§1408 and 1409.

               3.      This is a core proceeding under 28 U.S.C. §157(b)(2)(A), (O).

               4.      This is a motion for an order of contempt under Fed.R.Bankr.P. 9020,

which is governed by Fed.R.Bankr.P 9014. The bases for the relief requested herein are 11

U.S.C. §§105(a), 362(a) and the Court's inherent power to enforce the automatic stay and its

own orders.

                                  FACTUAL BACKGROUND

               5.      On February 16 and 17, 2011, Debtors filed voluntary petitions for

relief under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§101, et seq. (the

"Code").

               6.      Under § 362(a)(3) of the Code, such petitions operate as stays of "any

act to obtain possession of property of the estate or of property from the estate or to exercise

control over property of the estate." 11 U.S.C. § 362(a)(3).

               7.      On May 12, 2011, upon the motion of the United States Trustee, the

Court appointed Philip V. Martino to be the Trustee for the estates in these cases, thereby

taking the Debtors out of possession and placing their assets and businesses under the control

of the Trustee.


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               8.      Also on May 12, 2011, the Court entered the May 12 Order (dkt# 227),

which ordered that, "John Apostolou, Eva Apostolou, Johanna [sic] Apostolou and all persons

acting for them, as their agents, or in concert with them, or otherwise at their direction or

under their control . . . may not interfere in the Debtors' business in any way, including,

without limitation, by contacting employees, vendors, landlords, tenants, franchisees, and

creditors." (Ex. B.)

               9.      John, Eva and Joanna Apostolou are among the Apostolou Plaintiffs.

John and Eva are the trustees of the trusts that are the owners of 100% of the common stock

and limited partnership interests of certain of the Debtors (Giordano's Enterprises, Inc., JBA

Equipment Finance, Inc., Illinois Management Company, Inc. and Randolph Partners, L.P.),

which, in turn, own directly or indirectly all the equity interests in the other Debtors. Basil

Apostolou, George Apostolou and Joanna Apostolou are the children of John and Eva Apostolou.

               10.     Fifth Third is a prepetition and post-petition creditor of the Debtors,

holding liens in substantially all the property of each Debtor's estate.

               11.     On August 3, 2011, the Apostolou Plaintiffs and Smith, as their

attorney, filed the ten count, 229 paragraph, 72 page (excluding exhibits) Apostolou

Complaint.

               12.     Fifth Third and several individuals identified as "officer[s] and

agent[s]" of Fifth Third are named as defendants in the Apostolou Complaint. (See Ex. A, ¶¶

15-21).




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                  13.       The Apostolou Complaint is also against 47 entities identified as

"Giordano's Franchisees" or the owners of Giordano's Franchisees.3 (See Ex. A, ¶¶ 13, 24-

70.)

                  14.       Certain of the allegations against the Giordano's Franchisees are

substantially related to the allegations asserted by the Trustee in its adversary complaint

against the Giordano's Franchisees. (See Adversary Complaint for Injunctive Relief and

Damages, filed by the Trustee on July 27, 2011, captioned Philip V. Martino v. Aynessazian,

et al., Adversary No. 11-01610.)

                  15.       Other defendants in the Apostolou Complaint include a former officer

and director of the Debtors (see Ex. A, ¶ 13), and attorneys who formerly represented the

Debtors (see Ex. A, ¶¶ 14, 198, 199) (collectively, the "Fiduciary Defendants").

                  16.       In Count I of the Apostolou Complaint, the Apostolou Plaintiffs, some

of whom control 100% of the equity interests of the Debtors, claim they have suffered

"shareholder oppression." The relief they and Smith request includes the entry of "injunctive

relief prohibiting the defendants from being in anyway [sic] involved with the GEI

Companies or their operations, and from bidding on the GEI Bankruptcy Estate." (See Ex. A,

p. 53.) "GEI" is Giordano's Enterprises, Inc., and the "GEI Companies" are Debtors in these



3
  The Giordano's Franchisees and the owners of Giordano's Franchisees include: B. Allen Aynessazian, Eat Pizza in
Brandon, Inc., Eat Pizza, Inc., Eat at Joe and Al's, Inc., Eat at Joe's, Inc., Eat Pizza in Port Richey, Inc., Eat at Joe's
II, Inc., Eat Pizza on Dale Mabry, Inc., Eat Pizza in Downtown Naperville, Inc., Jason's Pizza, Inc., Athena's Best
Pizza, Inc., Marie's Best Pizza, Inc., Laganes, LLC, Centos, Inc., Centos & Sons, Inc., For Love of Pizza, Inc.,
Stefano's Pizza on Sheridan, Inc., Morton North, Inc., Pizza Best, Inc., CMJ, Inc., n/k/a Downers CMJ, Inc., Cara
Sales, Inc., Rambo's Pizza of Fox Lake, Inc., Rambo's Pizza of Lake Zurich, Inc., SKDD Pizza, Inc., Giordano's of
Westchester, Inc., Mt. Prospect Venture, Inc., Best Pizza, Inc., Randall Third, Inc., Best in Town, Inc., Grand West,
Inc., Joseph Locascio, Peter Skiouris, Ted Mavrakis, Constantinos Alexakos, Milton Alexakos, John Nikolopoulos,
Jose Centeno, Kimberly Centeno, Asencion Centeno, Stephanos Vaiopouls, John Daoulas, Leonidas
Theodorpopoulos, Ramiz Mareewa, Stanley Kondiles, Dimitri Dimitropoulos, Dimitri Dimitri, Anthony Prokos and
Anthanassios Kourliouros.



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cases. (See Ex. A, ¶¶ 71, 76.) The "GEI Bankruptcy Estate" refers to the estates in these

cases.

              17.     Count II purports to state a claim for interference with the Apostolou

Plaintiffs' prospective economic advantage. That economic advantage allegedly consists of

the Apostolou Plaintiffs' expectations that they would retain their positions with the Debtors

and that their equity interests in the Debtors would retain their value.        The Fiduciary

Defendants are alleged to have interfered with those expected advantages by breaching their

fiduciary duties, and all the defendants are alleged to have done so by "undermining the

financial wherewithal of the GEI Companies and the Apostolous" and by inducing the

Apostolous to cause the Debtors to execute "Agreements that were not in the best interests of

the GEI Companies and Apostolous," all of which had the result that "the GEI Companies and

the Apostolous have suffered millions of dollars in detriment." (Ex. A, ¶ 194.)            The

Apostolou Plaintiffs' only alleged interests that might have been so harmed are as

shareholders, officers and employees of the Debtors.

              18.     Count III alleges that the Fiduciary Defendants breached their fiduciary

duties and are consequently liable to the Apostolou Plaintiffs, as the sole shareholders of the

Debtors, in the total amount of $229,617,184. (See Ex. A, p. 59.) Count VIII alleges that all

defendants were part of a conspiracy to breach those fiduciary duties, and Count X alleges

that Fifth Third aided and abetted an alleged "unlawful scheme" by assisting the Fiduciary

Defendants "in breaching their fiduciary duties." (Ex. A, ¶ 232(a.).)


              19.     Count IV of the Apostolou Complaint purports to allege claims for

fraud and "constructive fraud" that consisted, primarily, of fraudulently inducing the Debtors



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into entering into various agreements, including forbearance and loan agreements with Fifth

Third. Thus, among the relief the Apostolou Plaintiffs seek is that the court, "Set aside the

August 6, 2010 Forbearance Agreement, and the October 2010 Loan Agreements with Fifth-

Third Bank . . . ." (Ex. A, p. 63.) Those agreements are among Fifth Third and the Debtors,

not the Apostolou Plaintiffs. The Apostolou Plaintiffs executed separate guarantees, which

they also seek to set aside. (See id.)


               20.      Count VI purports to allege a conspiracy to commit fraud, supported by

allegations similar to those in Count IV, and also including allegations that Fifth Third

"misappropriated GEI Companies' funds" and that the "Franchisee Group intentionally

withheld payments to the GEI Companies . . . with the specific purpose of unlawfully putting

additional financial strain on the GEI Companies . . . ." (Ex. A, ¶ 220).

               21.      Count VII of the Apostolou Complaint alleges that the defendants

engaged in a variety of unlawful acts, including those alleged in the prior Counts, with the

intent of and effect of "intentionally weakening the GEI Companies [i.e., the Debtors]" (Ex.

A, ¶¶ 222, 223.)4

                                        LEGAL ARGUMENT

A.      Smith and the Apostolou Plaintiffs Violated the Automatic Stay

               22.      The automatic stay prohibits "any act to obtain possession of property

of the estate or of property from the estate or to exercise control over property of the estate."

Code §362(a)(3). Smith and the Apostolou Plaintiffs violated this prohibition by filing the

Apostolou Complaint, as detailed below. As the principal creditor of these estates, holding

4
  Two other counts, Count V ("Defamation Per Se") and Count IX ("Conspiracy to Defame") are not addressed by
this motion, although Count IX relies on substantially all the allegations of the eight other counts.


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both prepetition and post-petition liens on substantially all property of the estate, Fifth Third

will be harmed to the extent Smith and Apostolou Plaintiffs succeed in interfering with the

Debtors' estates and the trustee's control of any such property.

               23.        By seeking in Count I of the Apostolou Complaint to enjoin the

defendants from having anything to do with the Debtors' business operations and from

bidding for property of the estates, Smith and the Apostolou Plaintiffs are exercising control

over property of the Debtors' estates. Fifth Third is the estate's post-petition financier, and the

franchisee defendants are obviously involved in the Debtors' businesses on a daily basis. An

injunction against their involvement "in anyway [sic]" with the Debtors' operations would

substantially interfere with those operations and would amount to substantial control over the

property of the estate.

               24.        Further, an injunction prohibiting the Defendants from bidding at a sale

of estate assets, which is also requested in Count I, would amount to an exercise of control

over property of the Debtors' estates by, to that extent, interfering with the trustee's control of

property of the Debtors' estates. Moreover, Fifth Third, as the holder of a security interest in

substantially all the property of each Debtor's estate, has the right to credit bid its secured

claim at any sale of assets. See 11 U.S.C. § 363(k). Thus, Fifth Third is threatened with a

direct injury as a result of the Apostolou Plaintiffs' request of an injunction that would bar

Fifth Third from exercising its statutory credit bid right.

               25.        The Apostolou Complaint seeks, in Counts III, VIII and X, to recover

damages for the alleged breaches of fiduciary duties of an officer and director and attorneys

of the Debtors.




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              26.     In addition, in Counts II, IV, VI and VII, the Apostolou Plaintiffs seek

damages for their own benefit for the consequences of allegedly wrongful acts that they

allege the defendants committed with the intent to harm the Debtors and that did harm the

Debtors.

              27.     Thus, the Apostolou Complaint seeks to recover damages for alleged

injuries to the Debtors resulting from breaches of fiduciary duties of an officer and director

and attorneys of the Debtors, and other alleged acts by all the defendants that harmed the

Debtors. The duties relied upon by the Apostolou Plaintiffs, however, (to the extent they

exist at all) were owed to the Debtors, not the Apostolou Plaintiffs. Any claims the Apostolou

Plaintiffs might have for breaches of those duties would be derivative of claims owned by the

Debtors. Any claims of the Debtors became property of the estate when these cases were

filed. Applying this rule, the Seventh Circuit stated in Koch Refining v. Farmers Union Cent.

Exchange, Inc., 831 F.2d 1339 (7th Cir. 1987), that it has "long been held that rights of action

against officers, directors and shareholders of a corporation for breaches of fiduciary

duties…become property of the estate which the trustee alone has the right to pursue after the

filing of a bankruptcy petition." 831 F.2d at 1343 (citing Pepper v. Litton, 308 U.S. 295, 306-

307 (1939)); see also Fisher v. Apostolou, 155 F.3d 876, 879 (7th Cir. 1998). Any action "to

recover damages for fiduciary misconduct, mismanagement or neglect of duty" by a debtor

company is a "general" claim which the trustee has the sole right and responsibility to bring.

Koch Refining, 831 F.2d at 1343-44. In short, any unlawful acts that harmed the Debtors

would give rise to claims that belonged to the Debtor, and those claims would now be

property of the estates in these cases. Accordingly, the claims for breaches of such duties




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asserted by the Apostolou Plaintiffs in the Circuit Court of Cook County are property of these

estates.

                28.     By asserting the claims described in Paragraphs 24 and 25 above in

another court for their own benefit, Smith and the Apostolou Plaintiffs are exercising control

over property of the estates in these cases.

                29.     For the reasons stated above, Smith and the Apostolou Plaintiffs are in

violation of the automatic stay and in contempt of court.

B.         Smith and the Apostolou Plaintiffs Violated the May 12 Order.

                30.     The May 12 Order prohibits three of the Apostolou Plaintiffs, John,

Eva and Joanna, "and all persons acting for them, as their agents, or in concert with them, or

otherwise at their direction or under their control . . . [from interfering] in the Debtors'

business in any way, including, without limitation, by contacting employees, vendors,

landlords, tenants, franchisees, and creditors."

                31.     It is difficult to imagine a greater interference with the Debtors'

business than by suing their principal creditor and their franchisees for hundreds-of-millions

of dollars and requesting injunctions against them being involved in that business and bidding

at the expected sale of assets.

                32.     Moreover, Smith and the Apostolou Plaintiffs caused the Apostolou

Complaint to be served upon the franchisees and a creditor, Fifth Third. Such service

constitutes a contact with those franchisees and creditor.

                33.     Smith acted as the agent of, and he, Basil Apostolou and George

Apostolou are acting in concert with, John, Eva and Joanna Apostolou in the filing of the




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Apostolou Complaint. Consequently, Smith and all the Apostolou Plaintiffs are in violation

of the May 12 Order.

              WHEREFORE, Fifth Third asks the Court to enter an order:

       (a)    Determining that Smith and the Apostolou Plaintiffs are in contempt of court

for their violations of the automatic stay, § 362(a) of the Code;


       (b)    Determining that Smith and the Apostolou Plaintiffs are in contempt of court

for their violations of the May 12 Order;


       (c)    Enjoining Smith and the Apostolou Plaintiffs from taking any action to

prosecute the Apostolou Complaint in the Circuit Court of Cook County, Illinois;


       (d)    Enjoining Smith and the Apostolou Plaintiffs from initiating any other actions

or proceedings in any forum relating in any way to the Debtors, the business of the Debtors

or Fifth Third's transactions with the Debtors without first obtaining leave of this Court;


       (e)    Imposing additional sanctions on each of Smith and the Apostolou Plaintiffs,

including monetary penalties sufficient to (i) compensate Fifth Third for the harm it has

suffered as the result of the filing of the Apostolou Complaint (including its attorneys' fees

and expenses and reasonable compensation for the time required of its employees to respond

to the Apostolou Complaint), and (ii) deter them from further violating the automatic stay

and the May 12 Order; and


       (f)    Granting such further relief as the Court deems appropriate.




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Dated: August 11, 2011                          Respectfully submitted,

                                                FIFTH THIRD BANK

                                                By:   /s/ Randall L. Klein
                                                       One of Its Attorneys

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(312) 201-4000




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                                  CERTIFICATE OF SERVICE

                The undersigned certifies that on August 11, 2011, a true and correct copy of the
foregoing NOTICE OF MOTION and MOTION FOR SANCTIONS AND FOR ORDER OF
CONTEMPT AGAINST ZANE SMITH AND PLAINTIFFS IN THE APOSTOLOU
LAWSUIT was filed with the Clerk of the Court using the CM/ECF system, which then sent
notification electronically to counsel of record and was further served by messenger and/or overnight
Federal Express to certain parties, as indicated below:

The following were served electronically via CM/ECF:

   •   Thomas V Askounis taskounis@askounisdarcy.com,
       jburt@askounisdarcy.com;jham@askounisdarcy.com
   •   Heather L Blaise heather.blaise@gmail.com
   •   Jennifer S Burt jburt@askounisdarcy.com
   •   Christopher M Cahill ccahill@lowis-gellen.com, abockman@lowis-gellen.com
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   •   Pia N Thompson pthompson@gouldratner.com, bburns@gouldratner.com
   •   Steven B Towbin stowbin@shawgussis.com

The following were served via messenger:

       Zane Smith
       Zane D. Smith & Assoc., Ltd.
       415 N. LaSalle St., Suite 300
       Chicago, IL 60654

       John Apostolou
       Eva Apostolou
       Basil Apostolou
       George Apostolou
       Joanna Apostolou
       c/o Zane Smith
       Zane D. Smith & Assoc., Ltd.
       415 N. LaSalle St., Suite 300
       Chicago, IL 60654

The following were served via overnight Federal Express:

       John Apostolou
       2330 Mohawk Lane
       Glenview, IL 60026

       Eva Apostolou
       2330 Mohawk Lane
       Glenview, IL 60026

Dated: August 11, 2011                        /s/ Randall L. Klein
                                             Randall L. Klein
                                             GOLDBERG KOHN LTD.
                                             55 East Monroe Street, Suite 3300
                                             Chicago, Illinois 60603
                                             (312) 201-4000




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